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Archdiocese of Santa Fe Bankruptcy Case 18-13027 FEB 2 1 2015

2/15/ 19
Unlted Statas Bankruptcy Court

Reference: (See Attached) A'buquerq"e' New M°xl°°

Notice of objection Deadline and Fina| Hearing on Debtors Motion for and order
establishing deadlines for filing proof of claims, approving proof of claims form
and approving form and manner notice thereof.

To Honorable .ludge Thuma:

lam a victim sexual abuse by a priest in Las Vegas NlVl-Fr Sabine Griego. l have
been waiting for years to get closure to my case with the SF Archdiocese and the
courts. |Vly case was getting ready to go to mediation when the Archdiocese filed

for Bankruptcy, putting a halt to my legal process.

Now l see that the attorneys for the Archdiocese are asking for a June 15th date
for any claims to be filed. When the Archdiocese first filed for Bankruptcy their
attorneys said claim deadlines would be April or |V|ay. Now they are requesting
June 15‘h. This is just another way for the Archdiocese to stall and delay the

process and bring closure to all victims.

Judge Thuma, please don't let the same thing happen with the Santa Fe
Archdiocese that happened with the Ga||up Bankruptcy taking three years.

Please help us the victims that have been waiting for years to bring closure to our
cases so our lives can move forward. Deny the June 15th claim deadline and

impose the Apri| or |V|ay deadline initially discussed by their attorneys.

Please be the voice that we need so all of us can sleep better at night and bring
closure to this nightmare.

Thank You

John Doe

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